Case 5:19-cv-00377-JFW-SHK Document 11 Filed 05/02/19 Page 1 of 4 Page ID #:74




   1 MCGUIREWOODS LLP
     E. CHRISTINE HEHIR SBN 201969
   2 chehir@mcguirewoods.com
     1800 Century Park East, 8th Floor
   3 Los Angeles, CA 90067-1501
     Telephone: 310.315.8200
   4 Facsimile: 310.315.8210
   5 Attorneys for Defendant
     BANK OF AMERICA, N.A.
   6
   7
   8                  IN THE UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
 10                           EASTERN DIVISION - RIVERSIDE

 11
 12    RICHARD NASSAR,                           Case No. 5:19-cv-00377-JFW-SHK
 13                      Plaintiff,              JOINT NOTICE OF SETTLEMENT
                                                 OF ENTIRE CASE
 14         v.
 15    BANK OF AMERICA, N.A.,                    Complaint Filed: February 27, 2019
 16                       Defendant.             Honorable John F. Walter
 17
 18
 19 TO THE HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT
 20 COURT JUDGE:
 21        Plaintiff RICHARD NASSAR and Defendant BANK OF AMERICA, N.A.
 22 (collectively, the “Parties”), hereby notify the Court that the Parties have reached a
 23 settlement of the above-captioned matter, subject to the preparation and execution of a
 24 formal, long-form settlement agreement, which has been drafted and the Parties are in
 25 the process of signing. The Parties anticipate filing a dismissal within 30 days, once
 26 the settlement is finalized.
 27
 28
                                              1                CASE NO. 5:19-cv-00377-JFW-SHK
                           JOINT NOTICE OF SETTLEMENT OF ENTIRE CASE
Case 5:19-cv-00377-JFW-SHK Document 11 Filed 05/02/19 Page 2 of 4 Page ID #:75




   1
   2 DATED: May 2, 2019                   MCGUIREWOODS LLP
   3                                      By: _/s/ E. Christine Hehir
                                              E. Christine Hehir
   4
   5                                          Attorneys for Defendant
                                              BANK OF AMERICA, N.A.
   6
   7
       DATED: May 2, 2019
   8
                                          By: _/s/ Richard Nassar________________
   9                                          Richard Nassar
 10
                                              Plaintiff, pro se
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            2                CASE NO. 5:19-cv-00377-JFW-SHK
                         JOINT NOTICE OF SETTLEMENT OF ENTIRE CASE
Case 5:19-cv-00377-JFW-SHK Document 11 Filed 05/02/19 Page 3 of 4 Page ID #:76




   1                                    ATTESTATION
   2        Pursuant to L.R. 5-4.3.4, the undersigned hereby attests that all signatories
   3 listed above, and on whose behalf this Stipulation is submitted, concur in and have
   4 authorized the filing of this Stipulation.
   5
   6                                    /s/ E. Christine Hehir
   7                                   E. CHRISTINE HEHIR
   8
   9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                               3                CASE NO. 5:19-cv-00377-JFW-SHK
                            JOINT NOTICE OF SETTLEMENT OF ENTIRE CASE
Case 5:19-cv-00377-JFW-SHK Document 11 Filed 05/02/19 Page 4 of 4 Page ID #:77




   1                              CERTIFICATE OF SERVICE
   2
             I hereby certify that on May 2, 2019, the foregoing JOINT NOTCE OF
   3
       SETTLEMENT OF ENTIRE CASE was filed electronically in the Court's
   4
       Electronic Case Filing system ("ECF"); thereby upon completion the ECF system
   5
       automatically generated a Notice of Electronic Filing ("NEF") as service through
   6
       CM/ECF to registered e-mail addresses of parties of record in the case.
   7
             In addition, on May 2, 2019, a copy of the above-described document was
   8
       served on the following party without a registered ECF email addresses via postage-
   9
       paid First Class U.S. Mail by placing a true and correct copy thereof into a sealed
 10
       envelope addressed as follows:
 11
             Plaintiff, pro se:
 12
             Richard Nassar
 13
             11090 Seven Pines Drive
 14          Alta Loma, CA 91737
 15
 16                                           /s/ E. Christine Hehir
                                              E. Christine Hehir
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                4                CASE NO. 5:19-cv-00377-JFW-SHK
                             JOINT NOTICE OF SETTLEMENT OF ENTIRE CASE
